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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

   UBIQUITI NETWORKS, INC.,


                          Plaintiff,

                  v.
                                                      Civil Action No.: 1:18-cv-05369
   CAMBIUM NETWORKS, INC.;
   CAMBIUM NETWORKS, LTD.;                            JURY TRIAL DEMANDED
   BLIP NETWORKS, LLC;
   WINNCOM TECHNOLOGIES, INC.;
   SAKID AHMED; and DMITRY
   MOISEEV,

                          Defendants.


                        CORRECTED CERTIFICATE OF SERVICE

       I hereby certify that on July 31, 2019 I electronically filed the foregoing Defendants’

Opposition to Plaintiff’s Motion to Lift Stay of Discovery with the Clerk of the United States

District Court for the Northern District of Illinois, Eastern Division, using the Court’s CM/ECF

system, which is also served upon counsel for all parties of record.



                                                 /s/ G. Hopkins Guy III
                                                     G. Hopkins Guy III




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